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   SHUYDVLYHDQGFRQFHQWUDWHGSUHWULDOSXEOLFLW\GRHVQRWDXWRPDWLFDOO\OHDGWRDQXQIDLUWULDO,Q

   OLJKWRIDOOWKHFRYHUDJHWKHUHLVQRUHDVRQWRWKLQNWKDWWKHLQIRUPDWLRQVRXJKWKHUHZRXOGKDYH

   DPDWHULDOHIIHFWRQZKDWHYHUSUHMXGLFHPD\H[LVWDPRQJVRPHSRWHQWLDOMXURUVLILWGRHVH[LVW,W

   LVMXVWDVOLNHO\WKDWWKHQHZLQIRUPDWLRQZLOOSURYLGHFRQWH[WDQGEDODQFHIRUWKRVHZDWFKLQJWKH

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   RYHUFRPHDQ\LQWHUHVWLQVHFUHF\7KH7LPHVUHVSHFWIXOO\UHTXHVWVWKDWWKHUHGDFWHGDQGVHDOHG

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   RUDOWHUQDWLYHO\WKDWWKHSDUWLHVEHUHTXLUHGWRGHPRQVWUDWHZK\WKHPDWHULDOVKRXOGUHPDLQXQGHU


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   EFREE#FREEHGG\FRP                              
   GIXORS#FREEHGG\FRP                             Counsel for Defendants
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                                                        /s/ Rachel E. FugateBBBBBBBBBBB
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